          Case 12-01050-mkn           Doc 67   Entered 02/09/16 16:42:57       Page 1 of 2




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 3   Entered on Docket
    February 09, 2016
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 4

 5                                 UNITED STATES BANKRUPTCY COURT

 6                                         DISTRICT OF NEVADA

 7                                                ******

 8   In re:                                          )
                                                     )        Case No.: 11-28575-MKN
 9   RYAN MITCHELL,                                  )        Chapter 7
                                                     )
10                       Debtor.                     )
                                                     )
11                                                   )
     ALEC BUNTING, by and through his                )        Adv. Proc. No.: 12-01050-MKN
12   guardian ad litem, Stella Ravella, and          )
     STELLA RAVELLA, individually,                   )
13                                                   )
                         Plaintiff,                  )
14                                                   )        Date: March 16, 2016
     v.                                              )        Time: 9:30 a.m.
15                                                   )
     RYAN MITCHELL,                                  )
16                                                   )
                         Defendant.                  )
17                                                   )

18                                       ORDER TO SHOW CAUSE

19              On February 3, 2016, a scheduling conference was held in the above-referenced

20   adversary proceeding. No appearances having been made, and good cause appearing,

21              IT IS HEREBY ORDERED that Alec Bunting, by and through his guardian ad litem,

22   Stella Ravella, and Stella Ravella, individually, and Ryan Mitchell, and their counsel of record, if

23   any, are ordered to show cause in Courtroom 2 of the Foley Federal Building and U.S. Courthouse,

24   300 Las Vegas Boulevard South, Las Vegas, Nevada, on March 16, 2016, at 9:30 a.m. why the

25   case should not be dismissed for lack of prosecution.

26              IT IS SO ORDERED.
         Case 12-01050-mkn     Doc 67   Entered 02/09/16 16:42:57   Page 2 of 2




 1   Copies sent via BNC to:

 2   RYAN MITCHELL
     3370 ST ROSE PARKWAY #638
 3   HENDERSON, NV 89052

 4   ALEC BUNTING, BY AND THROUGH
     HIS GUARDIAN AD LITEM STELLA RAVELLA
 5   C/O DANIEL S. SIMON
     810 S. CASINO CENTER BLVD.
 6   LAS VEGAS, NV 89101

 7   STELLA RAVELLA
     C/O DANIEL S. SIMON
 8   810 S. CASINO CENTER BLVD.
     LAS VEGAS, NV 89101
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